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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION
LLOYD V. MURPHEY, et al.,        )
                                 )
     Plaintiff,                  )
                                 )
v.                               )     Case No.: 4:11-cv-2114-JCH
                                 )
ROBERT J. BACKER, et al..,       )
                                 )
     Defendants.                 )

   MOTION TO DISMISS WITH PREJUDICE DEFENDANTS UNITED STATES OF
          AMERICA AND WEST COUNTY RADIOLOGICAL GROUP

        COME NOW Plaintiffs by and through their attorneys and pursuant to Rule 41(b) of the

Federal Rules of Civil Procedure and hereby request this Court enter its Order dismissing with

prejudice defendants United States of America and West County Radiological Group. In support

thereof, Plaintiffs state:

        1.      The parties in the matter mediated this case on February 13, 2013.

        2.      During the mediation, Plaintiffs reached a settlement with Defendants United

States of America and West County Radiological Group.

        3.      Plaintiffs have not settled their claims as to Defendant Robert Backer, M.D.

        4.      Rule 41(b) FRCP provides that an action may be dismissed at Plaintiffs’ request

only by court order.

        WHEREFORE, Plaintiffs respectfully request that their claims be dismissed with

prejudice only as to Defendants United States of America and West County Radiological

Group.
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                                         WITZEL KANZLER
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